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                                                                                        Approved.
                                                                                        IT IS SO ORDERED.

                                                                                        s/ James R. Knepp II
                         IN THE UNITED STATES DISTRICT COURT
                                                                                        UNITED STATES
                          FOR THE NORTHERN DISTRICT OF OHIO
                                                                                        DISTRICT JUDGE
                                  WESTERN DIVISION

 DYLAN M. ACKERMAN,                          )
                                             )     CIVIL ACTION NO. 3:21-CV-00061
        Plaintiff,                           )
                                             )     JUDGE KNEPP
 v.                                          )
                                             )     MAGISTRATE JUDGE BAUGHMAN
 KILOLO KIJAKAZI, ACTING                     )
 COMMISSIONER OF SOCIAL                      )
 SECURITY,                                   )
                                             )
        Defendant.                           )

                       JOINT STIPULATION TO AWARD EAJA FEES

       The parties hereby jointly stipulate to the entry of an agreed order granting Plaintiff

$5,000.00 (five thousand dollars) in attorney fees and $0.00 (zero dollars) in costs under the

Equal Access to Justice Act (EAJA), 28 U.S.C. § 2412. The award shall fully and completely

satisfy any and all claims for fees, costs, and expenses that may have been payable to Plaintiff in

this case under the EAJA. This Stipulation is not intended to set precedent for, or a

representation of, any specific hourly rate or total number of hours in other cases.

       The parties request that the order provide that any fees paid belong to Plaintiff—not

Plaintiff’s attorney—and can be offset to satisfy pre-existing debt that Plaintiff owes the United

States. Astrue v. Ratliff, 130 S. Ct. 2521 (2010). The parties also request that the order provide

that after entry of the award, if Defendant can verify that Plaintiff does not owe a pre-existing

debt to the government subject to offset, Defendant will direct payment of the award to

Plaintiff’s attorney pursuant to a valid EAJA assignment. Plaintiff has consented to the amount

and method of payment.
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       WHEREFORE, Plaintiff and Defendant request that the court enter an order granting

Plaintiff $5,000.00 (five thousand dollars) in attorney fees and $0.00 (zero dollars) in costs.

                                              Respectfully submitted,

                                              BRIDGET M. BRENNAN
                                              UNITED STATES ATTORNEY
                                              NORTHERN DISTRICT OF OHIO

/s/ Debra S. Shifrin 1                        /s/ Ruchi V. Asher
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1
 Ruchi Asher, Assistant U.S. Attorney, signed for Debra Shifrin, with consent obtained by Ryan
Shafer, Special Assistant U.S. Attorney, on December 8, 2021, by email.
